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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG l 7 PH l: nn
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Tl-UW tt w _.
CLEF;§;\L§ eat Coum
MARK cHRIsToPHER oBERT and *""~f ~J`i* -~1» Mt'*~‘fPPJS
LESLEY oBERT,

Plaintiffs,

V. No. 03-2135-DV
THE PYRAMID, CITY OF MEMPHIS,
SHELBY COUNTY GOVERNMENT,
PUBLIC BUILDING AUTHORITY OF
MEMPHIS AND SHELBY COUNTY,
MEMPHIS POLICE DEPARTMENT,
LEISURE MANAGEMENT
INTERNATIONAL dfb/a LMI/HHI,
LTD., and SPECTACOR
MANAGEMENT GROUP df|:)/a SMG,

V\./\_/\_/\_/\-/\._/\_/\_J\_/\_/\_/\_/\_/\_JW\-/\_/

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANT SMG’S MOTION TO DISMISS OR, IN THE ALTERNATIVE,
TO REQUIRE A MORE DEFINITE STATEMENT

 

Before the Court is Defendant Spectacor Management Group’s (“SMG” or “Dcfendant”)
motion to dismiss or, in the alternative, to require a more definite statement (dkt. # 109). Defendant
asserts that Plaintiffs have not stated a claim upon which relief can be granted. For the following
reasons, the Court grants in part and denies in part Defendant’s motion to dismiss or, in the
alternative, to require a more definite statement
I. FACTUAL AND PROCEDURAL BACKGROUND

Plaintiffs Mark Christopher Obert and Lesley Obert, husband and wife, attended a George

Strait concert on March 8, 2002, at the Pyramid Arena (“Pyramid”) located in Memphis, Tennessee.

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Third Am. Compl. 11 14. Ms. Obert suffers from spina bifida and has been confined to a wheelchair
since birth, § at 1[ 15. On the date of the concert, Plaintiffs arrived downtown at least one hour
before the beginning of the concert. Ld. at 11 14. Plaintif`fs had attended other functions at the
Pyramid and were familiar with the facility’s available parking and seating options for handicapped
individuals §

ln accordance with the ingress and egress lane dedicated to handicap access, Plaintiffs assert
that they approached the Pyramid from Riverside Drive in an attempt to park in the handicap spaces
located on the South side of the facility. Ld. at 11 17. The dedicated handicap lane allegedly was not
being used for handicap access. ig Plaintif`f`s assert that Memphis police officers, told Plaintiffs that
the South side of the Pyramid had neither handicap access nor handicap parking spaces, despite
Plaintiffs’ protestations and request for handicap access and parking. E._ Plaintiffs maintain that Mr.
Obert then attempted to leave Ms. Obert on the North side of the Pyramid; however, he was denied
access. I_d. at 11 18. Thereaf’cer, Mr. Obert allegedly sought to leave Ms. Obert at the designated
handicap drop-off zone located in front of the Pyramid, but again was denied entry by Memphis
police officers, who told him that there was no handicap access available in front of the Pyramid and
the area was closed to all except those in limousines and church buses. I_d.

After being denied access and parking at the Pyramid, Plaintif`fs assert that they obtained
parking behind Café Francisco Restaurant, which is located several blocks southwest of the Pyramid.
§ at jt 20. After parking, Plaintiffs proceeded toward the Pyramid. Ld. at 11 21. To reach the
Pyramid, Plaintiff`s allege that they had to cross North Main Street where it intersected with North
Parkway. § A trolley track ran through the center of`North Main Street. _I_<_:lga As Ms. Obert crossed

the street, the tire of her wheelchair lodged in the trolley tracks, causing her to flip over the front of

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the wheelchair and land on the street. Ld. at 11 22. The fall allegedly broke Ms. Obert’s leg
completely through in two separate places. LL at 11 23. Ms. Obert maintains that she had a long and
painful recuperation. ch at 25.

On March 7, 2003, Plaintiffs initiated the instant action. On the same day, Plaintiffs filed an
action in state court against entities associated with the Memphis Area Transit Authority (“MATA”)
for the injuries Plaintiffs suffered as a result of Ms. Obert’s wheelchair becoming lodged in the
trolley tracks. Defendant moves the Court to grant summary judgment as to Plaintiffs third amended
complaint with respect to this Defendant.

II. LEGAL STANDARD

Federal Rule of Civil Procedure lZ(b)(6) enables a defendant to file a motion to dismiss for
a plaintiffs failure to state a claim upon which relief can be granted Motions to dismiss under Fed.
R. Civ. P. lZ(b)(6) are designed to test “whether a cognizable claim has been pleaded in the
complaint.” cheid v. Fanny Farmer Candy Shopsl Inc., 859 F.2d 434, 436 (6th Cir. 1988).
Dismissal under Fed. R. Civ. P. 12(b)(6) is appropriate when no set of facts exists which would
entitle the plaintiff to recover. Hammond v. Baldwin, 866 F.Zd 172, 175 (6th Cir. 1989).
Essentially, it allows the court to dismiss meritless cases which would otherwise waste judicial
resources and result in unnecessary discovery E, gg._, Nietzke v. Williams, 490 U.S. 319, 326-27
(1989).

ln reviewing a defendant’s Rule 12(b)(6) motion to dismiss, a district court should construe
the complaint in the light most favorable to the plaintiff and determine whether the plaintiff
undoubtedly can prove no set of facts in support of his claims that would entitle him to relief.

Meador v. Cabinet for Human Res., 902 F.Zd 474, 475 (6th Cir. 1990), cert. denied, 498 U.S. 867

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(1990). If an allegation is capable of more than one inference, it must be construed in the plaintiff s
favor. M$_LS_U_L_M, 948 F.2d 1037, 1039-40 (6th Cir. 1991).

A district court may not grant a dcfendant’s Fed. R. Civ. P. 12(b)(6) motion to dismiss based
on its disbelief of the plaintiff s factual allegations ML€M, 123 F.3d 394
(6th Cir. 1997), cert. denied, Mu_rphy v. Sofamor Danek Group, Inc., 523 U.S. 1106 (1998). It is not
the court’s function to weigh evidence or evaluate the credibility of witnesses Miller v. Currie, 50
F.3d 373, 377 (6th Cir. 1995). A court will not consider any disputed questions of fact at this stage.
Barnes v. Winchell, 105 F.3d 1111, 1114 (6th Cir. 1997). Rather, the court should accept all well-
pleaded facts as true and not consider matters outside the pleadings Hammond, 866 F.Zd at 175.
“ln securities fraud cases, however, courts may consider the full text of SEC filings, prospectuses,
and analysts’ reports not attached to a plaintiffs complaint if they are integral to statements within
the complaint.” re Firstener Co . Sec. Liti ., 316 F. Supp.2d 581, 591 U\I.D. Ohio 2004)
(citation omitted). Courts may also take judicial notice of public records and documents ch
(citations omitted). The United States Supreme Court has held that “a complaint should not be
dismissed for failure to state a claim unless it appears beyond doubt that the plaintiff can prove no

set of facts in support of his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S.

 

41, 45-46 (1957); s;e_e al_so Letzl_;_e, 490 U.S. at 326-27; Lewis, 135 F.3d at 405 (6th Cir. 1997).
Thus, the standard to be applied when evaluating a motion to dismiss for failure to state a claim is
very liberal in favor of the party opposing the motion. Westlake v. Lucas, 537 F.2d 857, 858 (6th
Cir. 1976). Even if the plaintiff’ s chances of success are remote or unlikely, a motion to dismiss
should be denied. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974).

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505 91 L.Ed.2d 202 (1986).

 

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To avoid summary judgment, the non-moving party “must do more than simply show that there is
some metaphysical doubt as to the material facts.” ML_sushi_t_a, 475 U.S. at 586.
III. ANALYSIS

A. ADA Claim

Defendant contends that Plaintiffs have not stated a claim for violation of Title ll of the
ADA. In order to establish a violation of Title II, a plaintiff must show that 1) she qualifies as a
disabled individual; 2) she was excluded from participation in or was denied the benefits of some
service, program, or activity by reason of her disability; and, 3) the entity providing the service,
program, or activity is a public entity. Dillery v. City of Sandusky, 398 F.3d 562, 567 (2005).

Defendant argues that it is not a public entity within the meaning of 42 U.S.C. § 12132, and,
therefore, Plaintiffs’ Title II claim must be dismissed A defendant may only be held liable under
Title II of the ADA if it is a public entity, not if the defendant merely leases or operates a public
accommodation 42 U.S.C. § 12132. However, under Title III, organizations leasing or operating
a public accommodation maybe liable for noncompliance with the ADA. 42 U.S.C. § 12182. Title

III provides as follows:

No individual shall be discriminated against on the basis of disability in the full and

equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation
42 U.S.C. § 12182.

When an entity appears to have both public and private features, the court should examine
the relationship between the entity and the governmental unit to determine if the entity is in fact
public or private. Title ll 'l`echnical Assistance Manual, § 1.2000 (1993). The relevant factors in
this determination include whether: 1) the entity is operated with public funds; 2) the entity’s

employees are considered government employees; 3) the entity receives significant assistance from

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the government by provision of the property or equipment; and, 4) the entity is governed by an
independent board elected by members of a private organization or a board elected by the voters or
appointed by elected officials § Thus, the Court must determine whether or not SMG operates
with public funds, maintains government employees, receives significant government assistance, and
is governed by a board elected by the voters or appointed by elected officials SMG receives
compensation from the government for its management services of the Pyramid, and the government
n supplies Memphis police officers for events to aid in parking direction. SMG’ s employees, however,

are not considered government employees and SMG is not governed by a board elected by the voters
or appointed by elected officials Thus, the Court finds that SMG is not a public entity for purposes
of Plaintiffs’ Title [[ claim under the ADA.' Therefore, the Court grants Defendant’s motion for
summary judgment as to Plaintiffs’ Title ll claim against SMG and denies Defendant’s motion to
dismiss Plaintiffs’ Title 111 claim.

B. Injunctive Relief

Defendant asserts that Plaintiffs’ allegations in count ll of the complaint are vague and
ambiguous and require a more definite statement Without a more definite statement, Defendant
contends that Plaintiffs’ request for injunctive relief should be dismissed

In count II, Plaintiffs allege that they are entitled to an injunction because Defendant violated
the ADA when it denied them access to the Pyramid’s handicap parking and drop-off zones
Plaintiffs contend that Defendant’s failure to allow access has created immediate, irreparable harm
to the Oberts and others similarly situated, thus warranting injunctive relief.

Section 12132, Title 42 of the United States Code provides: “Subj ect to the provisions of this
title, no qualified individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of a public entity,

 

' The Court further notes that Title III of the ADA applies to “public accommodations and
services operated by private entities.” 42 U.S.C. § 12181. A “private entity” as “any entity other
than a public entity.“ §

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or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132. A plaintiff aggrieved by
a violation of the ADA or the Rehabilitation Act may seek Title VI remedies Bartlett v. New York
State Bd. of Law Exam’rs, 156 F.3d 321, 331 (2d Cir. 1998); s;e_e 29 U.S.C. § 794a(a)(2); Y_e_ils_g
42 U.S.C. § 12133 (ADA looks to remedies provided under the Rehabilitation Act). Courts have
held that proof that the defendant intentionally discriminated against the plainti ff must be established

to recover damages under § 504 of the Rehabilitation Act. §_e_e Bartlett, 156 F.3d 321 (2d Cir. 1998),

 

vacated on other grounds, 527 U.S. 1031 (1999); Powers v. MJB Acguisition Corp., 184 F.3d 1 147
(lOth Cir. 1999); Center v. Citv of W. Carrollton, 227 F. Supp. 2d 863, 871 (S .D. Ohio 2002).
“[I]ntentional discrimination can be inferred from a defendant’s deliberate indifference to the strong
likelihood that pursuit of its questioned policies will likely result in a violation of federally protected

rights.” Powers, 184 F.3d at 1153. “Deliberate indifference requires both knowledge that a harm

 

to a federally protected right is substantially likely, and a failure to act upon that likelihood.” DLall
v. County of Kitsap, 260 F.3d 1124, 1139 (9th Cir. 2001) (citing City of Canton v. Harris, 489 U.S.
378, 389, 103 L. Ed. 2d 412, 109 S. Ct. 1197 (1988)). Ifthe need for an accommodation is obvious
or required by statute or re gulation, the public entity is on notice that an accommodation is required,
thus satisfying the knowledge element of the deliberate indifference test. §

Subsection (a) of § 12182 provides that the ADA’s prohibitions against discrimination apply
to “any person who owns, leases (or leases to), or operates a place of public accommodation.” 42
U.S.C. § 12182(a). The express terms of the ADA, therefore, hold SMG liable if it is noncompliant.
Botosan v. Paul McNally Realty, 216 F.3d 827, 832 (9"‘ Cir. 2000). Thus, Plaintiff has alleged
sufficient facts to state a claim for violations of the ADA. That is an adequate basis for a request for
injunctive relief w g&, Gonzales v. National Bd. of Medical Examiners, 225 F.3d 620, 625
(2000) (“The ADA includes injunctive relief as an appropriate remedy in disability di scrimination.”)
Accordingly, Defendant’s motion to dismiss Plaintiffs’ request for injunctive relief is denied

C. Negligence Per Se

As the Court discussed in the May 22, 2003 Order Granting In Part And Denying ln Part

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Defendant City Of Memphis’ Motion To Dismiss, “a consent decree is not enforceable directly or
in collateral proceedings by those who are not parties to it even though they were intended to be
benefitted by it.” Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 750 (1975). A person who
is not a party to the consent decree has standing only to challenge the constitutionality of the consent
decree itself as it is applied to her. Vogel v. City of Cincinnati, 959 F.2d 594, 599 (6th Cir. 1992).
Thus, although the terms of the Consent Order were intended to benefit individuals like Ms. Obert,
who require handicap access and accommodations, Plaintiffs may not proceed with claims based on
the terms of the Consent Order unless they challenge the constitutionality of the terms of the Consent
Order itself. Plaintiffs do not challenge the constitutionality of the terms of the Consent Order, but
instead seek merely to enforce those terms

Accordingly, the Court grants Defendant’s motion to dismiss Plaintiffs’ claim of negligence
per se.

D. Loss of Consortium

Defendant asserts that PlaintiffMark Obert’s claim of loss of consortium is premised upon
the claims of his wife. Defendant argues that because Ms.Obert has no viable cause of action against
Defendant, Mr. Obert has no cause of action for loss of consortium

Tennessee Code Annotated § 25-1-106 provides for a right of recovery for the loss of
consortium of a person whose spouse is injured Courts have defined consortium as “the conjugal
fellowship of husband and wife, and the right of each to the company, cooperation, affection, and
aid of the other in every conjugal relation.” Jackson v. Miller, 776 S.W.2d 115, 116-17
(Tenn.Ct.App.1989) (quoting Manning v. Altec, Inc., 488 F.2d 127, 132 (6th Cir.l973)). Plaintiffs
allege that Mr. Obert lost the consortium of his wife for many months following the incident at
the Pyramid, including both tangible and intangible services

Loss of consortium is a derivative claim, established by the claims of others E id_. at
117; Swafford v. City of Chattanoog , 743 S.W.2d 174, 178 (Tenn. App. 1987) (“[A] husband’s

or wife’s derivative claim for loss of consortium will always be ‘derivative’ in the sense that the

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injuries to his or her spouse are an element [of the claim] and must be proved . . . .”). Because
the Court finds that Ms. Obert does have a viable cause of action against Defendant pursuant to the
ADA, Defendant’s motion to dismiss Plaintiffs’ loss of consortium claim is denied
E. Outrageous Cooduct
Defendants assert that the acts complained of by Plaintiffs do not rise to the stringent
requirements of the state law claim of outrageous conduct. To establish a claim for outrageous
conduct, a plaintiff must establish that the conduct complained of l) was intentional or reckless; 2)
was so outrageous that it is not tolerated by civilized society; and 3) resulted in serious mental injury.
Bain v. Wells, 936 S.W.2d 618, 622 (Tenn. 1997) (citations omitted). Liability for mental distress
damages “does not extend to mere insults, indignities, threats annoyances, petty oppression or other
trivialities.” § (quoting Medlin v. Allied Inv. Co., 398 S.W.2d 270, 274 (Tenn. 1966)). To
determine whether conduct is so intolerable as to be outrageous, Tennessee courts apply the
following standard enunciated in the Restatement (Second) of Torts § 46, comment d :
The cases thus far decided have found liability only where the
defendant's conduct has been extreme and outrageous It has not been
enough that the defendant has acted with an intent which is tortious
or even criminal, or that he has intended to inflict emotional di stress,
or even that his conduct has been characterized by “malice,” or a
degree of aggravation which would entitle the plaintiff to punitive
damages for another tort. Liability has been found only where the
conduct has been so outrageous in character, and so extreme in
degree, as to go beyond all bounds of decency, and to be regarded as
atrocious and utterly intolerable in a civilized community. Generally,
the case is one in which the recitation of the facts to an average
member of the community would arouse his resentment against the
actor, and lead him to exclaim, “Outrageous.”
§ at 623.
Plaintiffs have alleged that Defendants’ conduct, including but not limited to its operation
of the Pyramid without a parking plan and handicapped access and/or its denial of handicapped
access, was intentional and reckless Although a genuine issue of material fact remains as to

violations of the ADA by Defendant, the Court finds that Plaintiffs have not met the burden of

demonstrating that Defendant’s acts or inaction rise to the level of outrageous conduct. ln their

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response to Defendant’s motion, Plaintiffs argue that Defendant’s deliberate indifference to safety
and discrimination by denying Plaintiffs access to parking and the drop-off zone provide the basis
for a claim of outrageous conduct. However, discrimination is not always outrageous conduct w,

gg, Bolander v. BP Oil Co., 128 Fed.Appx. 412, 419 (6th Cir. 2005). ln this case, there is no

 

evidence of outrageous conduct on the part of Defendant. Accordingly, the Court grants Defendant’s
motion to dismiss Plaintiffs’ outrageous conduct claim,

F. Negligence

Defendant maintains that this Court is not the proper venue for Plaintiffs’ negligence claim
because Plaintiffs have alleged a similar claim in the pending state court action. However, in the
state court claim, Plaintiffs did not allege a “failure to train, supervise, implement and communicate
. . . the handicapped parking and accessibility requirements . . ." Third Am. Compl. '|l 60. Thus, the
claims are not identical

Plaintiffs correctly note that a federal court can exercise pendent jurisdiction over state law
claims when there is a federal claim which is sufficient to confer subject matter jurisdiction on the
federal court, “and the relationship between that claim and the state claim permits the conclusion that
the entire action before the court comprises but one constitutional case.” [lnited Mine Workers of
America v. Gibbs, 383 U.S. 715, 725 (1966). The state and federal claims must “derive from a
common nucleus of operative fact.” §

ln the instant case, the requirements for exercising pendent juri sdiction are met. Accordingly,

the Court denies Defendant’s motion to dismiss Plaintiffs’ negligence claim,

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IV. CONCLUSION

For the reasons stated herein, the Court GRANTS Defendant’s motion to dismiss with
respect to Plaintiffs’ Title II claim under the ADA and Plaintiffs’ claims of negligence per se and
outrageous conduct The Court DENIES Defendant’s motion to dismiss Plaintiffs’ Title III claim
under the ADA, Plaintiffs’ claims of loss of consortium and negligence, as well as Plaintiffs’ request
for injunctive relief. Furthermore, Defendant’s motion to require a more definite statement is

DENIED.

rr rs so oRDERED this / 7#' day of Augusr, 2005.

 

 

U ITED STATES DISTRIC'I` JUDGE

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DISTRIC COUR - wESTNER DISRICT OF T'NN"ESEE

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This notice confirms a copy of` the document docketed as number 166 in
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